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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

TAWANNA SIMPSON,                           Case No. 16-cv-13784
           Plaintiff,                      HON. ARTHUR J. TARNOW

v

CATHY M. GARRETT, in her official capacity as the duly elected Wayne
County Clerk, WAYNE COUNTY ELECTION COMMISSION, WAYNE
COUNTY BOARD OF CANVASSERS, JANICE WINFREY, in her official
capacity as the duly elected Detroit City Clerk, and UNNAMED/UNKNOWN
ELECTION INSPECTORS, in their official capacities,
                    Defendants,
________________________________________________________________/
ANDREW A. PATERSON (P18690)         ZENNA ELHASAN (P67691)
Attorney for Plaintiff              Wayne County Corporation Counsel
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And Unnamed Election Inspectors
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__________________________________________________________________________/

        PLAINTIFF TAWANNA SIMPSON’S REPLY TO COUNTY
       DEFENDANTS’ RESPONSE TO MOTION FOR TEMPORARY
    RESTRAINING ORDER, OR IN THE ALTERNATIVE, PRELIMINARY
                         INJUNCTION




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      NOW COMES PLAINTIFF, TAWANNA SIMPSON (“Plaintiff” or

“Plaintiff Simpson”), by and through her attorney, ANDREW A. PATERSON,

and for her Reply to County Defendants’ Response to Motion for Ex Parte

Temporary Restraining Order, Or In The Alternative, Motion for Preliminary

Injunction Against Defendants Wayne County Board of Canvassers, Detroit City

Clerk, and Detroit Election Inspectors, states the following:

      The County Defendants have asserted entirely misplaced arguments that

Plaintiff Simpson’s claims are barred by laches, res judicata, collateral estoppel

and the Rooker-Feldman doctrine. None of these arguments are applicable and

hence they lack merit and are frivolous. Plaintiff can only assume they are

interposed to gain delay. Plaintiff Simpson was not even a party to a state case -

that the County Defendants quote portions of the transcript from - as somehow

giving rise to an inferred defense to her new constitutional claims that have been

advanced, for the first time, in this Court. Accordingly, for the reasons stated

herein, Plaintiff Simpson’s Motion for Temporary Restraining Order, or in the

alternative, Motion for Preliminary Injunction (Docket No. 2), should be granted

by this Honorable Court.

                  A. Plaintiff’s Claims Are Not Barred By Laches.

      “Where a plaintiff seeks solely equitable relief, his action may be barred by

the equitable defense of laches if (1) the plaintiff delayed unreasonably in asserting


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his rights and (2) the defendant was prejudiced by this delay.” ACLU v Taft, 385

F.3d 641, 647 (6th Cir. 2004). “Laches consists of two elements: (1) unreasonable

delay in asserting one’s rights; and (2) a resulting prejudice to the defending

party.” Brown-Graves v Central States SE and SW Areas, 206 F.3d 680, 684 (6th

Cir. 2000). In the present case, there has been no “unreasonable delay” by Plaintiff

Simpson filing her claims and there has been no “resulting prejudice” to the

County Defendants. Id. Consequently, laches is not applicable.

      As the Court is aware, there have been two (2) state-court cases involving

the legality of Penelope Bailer’s candidacy. Penelope Bailer brought the initial

state-court case, Penelope Bailer v Janice Winfrey and Wayne County Election

Commission, Wayne County Case No.16-011797-AW (“Bailer Election Matter”),

when she was properly not placed on the ballot by the Defendant Wayne County

Election Commission. Penelope Bailer sought the entry by the state court under

state election law of a writ of mandamus compelling the Defendant Wayne County

Election Commission to have her name printed on the November 8, 2016 General

Election ballot. However, as correctly noted by the County Defendants’ in their

Response (Docket No. 7), neither the Defendant Janice Winfrey nor the Defendant

Wayne County Election Commission appealed the erroneous state-court order that

was entered on September 16, 2016 in the initial Bailer Election Matter.




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      Mr. Robert Davis and Desmond White, who had unsuccessfully proposed to

the state court to be intervenors in the Bailer Election Matter, appealed the state-

court’s erroneous September 16, 2016 Order. The Michigan Court of Appeals,

however, on September 21, 2016, determined that Robert Davis and Desmond

White lacked appellate standing because they were not parties to the Bailer

Election Matter as they had been denied intervention and thus, the Michigan Court

of Appeals lacked jurisdiction.

      Consequently, a different state-court case, Robert Davis and Desmond White

v Cathy Garrett, et. al, Wayne County Case No. 16-012226-AW (“Davis Election

Matter”), was subsequently brought by Robert Davis and Desmond White after a

civil servant, Ms. Delphine Oden, inserted herself into the authority of the

Defendant Wayne County Election Commission and purportedly acting on its

behalf, claimed to have complied with the state-court order entered in the Bailer

Election Matter and unilaterally instructed the printer to print Penelope Bailer’s

name on the November 8, 2016 General Election ballot. (See Delphine Oden’s

Affidavit, Docket No. 1-7). Robert Davis and Desmond White sought, amongst

other relief, the entry of a writ of mandamus compelling the Defendants County

Clerk and Wayne County Election Commission to remove Penelope Bailer’s name

from the November 8, 2016 General Election ballot because they had not complied




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with Mich. Comp. Laws § 168.689 or even the state court’s erroneous September

16, 2016 Order.

       Although the allegations in the Robert Davis and Desmond White

complaint were that the Defendant Wayne County Election Commission had failed

to follow and comply with Mich. Comp. Laws § 168.689 of Michigan Election

Law, a generically self-interested and possibly biased state-court judge, dismissed

Robert Davis and Desmond White’s action and even held it was frivolous to

attempt to get the County Defendants to comply with Mich. Comp. Laws §

168.689 of Michigan Election Law and the state-court’s own order. Robert Davis

and Desmond White have appealed the state-court decision in the Davis Election

Matter and that appeal remains pending. The impact of these two state court

actions all brought under state election law have no bearing on Plaintiff Simpson’s

federal constitutional claims being made in this Court.

         1. Plaintiff’s Delay In Filing Her Claims Was Not Unreasonable

      First, Plaintiff Simpson reasonably believed that the Bailer Election Matter

would have resolved the illegality of Penelope Bailer’s name being unlawfully

placed on the November 8, 2016 General Election ballot. The failure of the

Election Commission to appeal the state court’s erroneous decision and the opinion

of the Michigan Court of Appeals that it lacked jurisdiction sank that belief.




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      Next, Plaintiff Simpson reasonably believed that the Davis Election Matter

would resolve the illegality of Penelope Bailer’s name being unlawfully placed on

the November 8, 2016 General Election ballot. However, the Michigan Court of

Appeals chose not to grant Robert Davis’ and Desmond White’s emergency

request to have the appeal heard in an expedited manner in this important election

law case. Thus, as a result of the Michigan Court of Appeals’ choice to refuse to

decide the merits of the Davis Election Matter in an expedited fashion, Plaintiff

Simpson was then left with no other recourse to protect her constitutional rights

than to file the present action. Plaintiff Simpson seeks herein to protect her

constitutional rights as a resident, a voter, and a “properly certified” candidate.

      Plaintiff Simpson’s federal constitutional claims could not have been

addressed by the Michigan Court of Appeals in the appeal of the state election law

claims made in the Davis Election Matter. Plaintiff Simpson was not a party to the

Davis Election Matter and the state court did not address any of Plaintiff

Simpson’s constitutional claims in the Davis Election Matter. Therefore, Plaintiff

Simpson’s constitutional claims simply could not have been addressed in the Davis

Election Matter, and certainly not for the first time on appeal in that matter. Thus,

there was no basis for Plaintiff Simpson to intervene in the appeal of the Davis

Election Matter, which is also the reason why Plaintiff Simpson withdrew her

motion to intervene in that appeal.


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      Thus, contrary to the County Defendants’ assertions, Plaintiff Simpson’s

delay in filing this action was in fact entirely “reasonable” when one considers the

other litigation that was pending. Had that litigation been resolved as the plaintiffs

Robert Davis and Desmond White sought, it would have made the filing of

Plaintiff Simpson’s present lawsuit entirely unnecessary. Moreover, because the

Michigan Court of Appeals refused to expedite the election matter Robert Davis’

and Desmond White raised in their appeal, Plaintiff Simpson’s injuries became

manifest. Now, an otherwise ineligible candidate’s name has been allowed to be

printed on the November 8, 2016 General Election ballot and the state courts have

failed to act to cure this manifest injustice.

                  2. County Defendants Have Not Been Prejudiced.

      The second part of a laches analysis requires the Court to determine whether

the County Defendants will in anyway be prejudiced by the issuance of a TRO or

Preliminary Injunction. The TRO or Preliminary Injunction being sought

specifically and narrowly, would enjoin the Defendant Wayne County Board of

Canvassers from certifying any votes cast for Penelope Bailer. There simply is no

prejudice in such an order. Plaintiff Simpson is not seeking the reprinting of the

ballots. Plaintiff is only seeking to enjoin the Defendant Wayne County Board of

Canvassers from certifying any votes cast for Penelope Bailer. This is the ONLY

relief sought. This relief, if granted, will not in any way prejudice any of the


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County Defendants, particularly, the Defendant Wayne County Board of

Canvassers. County Defendants spend a considerable amount of time in their

Reply explaining how much money has been spent on the printing of the ballots

and the number of absentee ballots that have been issued and returned by the

voters. All that is irrelevant. The County Defendants apparently did not read the

Plaintiffs Prayer for Relief in her Complaint. Plaintiff Simpson did not and is not

seeking the Court to order the reprinting of ballots or the removal of Penelope

Bailer’s name from ballots. The County Defendants arguments in this regard are

entirely misplaced. Consequently, the County Defendants cannot show how the

requested relief - enjoining the Defendant Wayne County Board of Canvassers

from certifying and/or counting any votes cast for Penelope Bailer - will prejudice

them in any way. Without prejudice to them, the County Defendants’ laches

argument fails.

               B. Plaintiff’s Claims Are Not Barred by Res Judicata.

      County Defendants also assert that Plaintiff Simpson’s claims are barred by

res judicata because Plaintiff Simpson is claimed to somehow be in privity with

Robert Davis. This argument is also without merit.

      The doctrine of res judicata provides that “a final judgment on the merits of

an action precludes the parties or their privies from relitigating issues that were or




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could have been raised in a prior action.” In re Alfes, 709 F 3d 631 (6th Cir 2013).

Res judicata is based on the following four elements:

       (1) a final decision on the merits by a court of competent jurisdiction; (2) a
       subsequent action between the same parties or their privies; (3) an issue in
       the subsequent action which was litigated or which should have been
       litigated in the prior action; and (4) an identity of the causes of action.
       In re Alfes, 709 F.3d at 638.

       Plaintiff Simpson was not a party, nor was she in privity to any of the parties

in either the Bailer Election Matter or the Davis Election Matter. And more

importantly, Plaintiff Simpson’s federal constitutional claims were not litigated in

those state court cases and her federal constitutional rights could not have been

litigated in either the Bailer Election Matter or Davis Election Matter. It is

instructive to examine what the Michigan state courts have said about being in

privity.

       In order to find privity between a party and a nonparty for purposes of res
       judicata, Michigan courts require both a substantial identity of interests
       and a working or functional relationship in which the interests of the
       non-party are presented and protected by the party in the litigation.
Peterson Novelties, Inc. v. City of Berkley, 259 Mich App 1, 126; 672 NW 2d 351

(2003). There is no identity of interests between Plaintiff Simpson and Robert

Davis. The state-court judge in both the Bailer Election Matter and the Davis

Election Matter ruled and determined that Robert Davis did not have standing to

seek the removal of Penelope Bailer from the ballot. Consequently, Robert Davis

and Plaintiff Simpson could not have a “substantial identity of interests” because

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Robert Davis could not have presented and protected the constitutional interests of

Plaintiff Simpson in either of the state-court cases. In the present case, Plaintiff

Simpson is alleging various violations of her constitutional rights. Robert Davis

could not have, and did not seek to, protect the constitutional rights of Plaintiff

Simpson.

      As noted by the Sixth Circuit, “The Supreme Court has held, however, that

as a matter of federal law, ‘res judicata principles do not apply where the party

against whom an earlier decision is asserted did not have a full and fair opportunity

to litigate the claim or issue decided by the first court.’” Abbott v State, 474 F.3d

324, 331 (6th Cir. 2007) (quoting Fellowship of Christ Church v Thorburn, 758

F.2d 1140, 1144 (6th Cir. 1985)). Plaintiff Simpson did not have a full and fair

opportunity to raise and litigate her federal constitutional claims in either of the

state-court actions and importantly, her legal interests were not adequately

protected by Robert Davis in the state-court actions. Thankfully, federal courts

also do not rigidly apply res judicata. The federal courts have discretion to not

apply the doctrine where doing so would result in manifest injustice. See, United

States v LaFatch, 565 F.2d 81, 84 (6th Cir. 1997). Applying res judicata to bar

Plaintiff Simpson’s claims would be a manifest injustice considering that Plaintiff

Simpson’s federal constitutional rights have been violated by the Defendants.




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Accordingly, for the foregoing reasons, res judicata simply does not apply to

Plaintiff’s claims made herein.

           C. Plaintiff’s Claims Are Not Barred by Collateral Estoppel.

      “The Full Faith and Credit Act, 28 U.S.C. § 1738, requires the federal courts

to give state court judgments the same preclusive effect that the state would afford

such judgments.” McCormick v Braveman, 451 F.3d 382, 396 (6th Cir. 2006).

Michigan has three requirements for collateral estoppel: “(1) ‘a question of fact

essential to the judgment must have been actually litigated and determined by a

valid and final judgment’; (2) ‘the same parties must have had a full [and fair]

opportunity to litigate the issue'; and (3) ‘there must be mutuality of estoppel.’”

Monat v. State Farm Ins. Co., 469 Mich. 679, 677 N.W.2d 843, 845-46 (2004)

(alteration in the original) (quoting Storey v. Meijer, Inc., 431 Mich. 368, 429

N.W.2d 169, 172 n. 3 (1988)).

      None of the elements for collateral estoppel under Michigan law are present

in Plaintiff Simpson’s case. Particularly, no questions of fact were determined in

either of the two (2) state-court cases. Additionally, none of Plaintiff Simpson’s

federal constitutional claims were actually litigated and finally determined in either

of the state-court actions. Plaintiff Simpson was not a party to either of the state-

court actions, and there is clearly no mutuality of estoppel. Consequently,

collateral estoppel is not applicable.


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        D. Plaintiff’s Claims Are Not Barred by Rooker-Feldman Doctrine.

      The Rooker-Feldman doctrine prevents state-court losers from “complaining

of injuries caused by the state-court judgment rendered before the district court

proceedings commenced and inviting district court review and rejection of those

judgments.” Exxon Mobil Corp. v Saudi Basic Indus, Corp., 544 U.S. 280, 284

(2005). “If the source of the injury is the state-court decision, then the Rooker-

Feldman doctrine would prevent the district court from asserting jurisdiction.

[However, i]f there is some other source of injury, such as a third party’s actions,

then the plaintiff asserts an independent claim.” McCormick v Braverman, 451

F.3d 382, 393 (6th Cir. 2006). However, “the Rooker-Feldman doctrine does not

apply to bar a suit in federal court brought by a party that was not a party in the

preceding action in state court.” United States v Owens, 54 F.3d 271, 274 (6th Cir.

1995). “[T]he [Rooker-Feldman] doctrine may not bar a party against whom there

is no state court judgment.” Id.

      As previously noted, Plaintiff Simpson was not a party to either of the state-

court actions; nor was Plaintiff Simpson in privy with any of the parties in either of

the state-court actions. Moreover, Plaintiff Simpson’s injuries are not from either

of the judgments entered in the state-court actions. Plaintiff Simpson’s injuries

arise from the third party actions of a civil servant, Ms. Delphine Oden, usurping

the Defendant Wayne County Election Commission’s statutory authority, and


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rationalizing such usurpation as a mere attempt to comply with the state-court

order against the Defendant Wayne County Election Commission entered on

September 16, 2016 in the Bailer Election Matter. (See Delphine Oden’s Affidavit,

Docket No. 1-7).

      “Assertions of injury that do not implicate state-court judgments are beyond

the purviews of the Rooker-Feldman doctrine.” Powers v Hamilton County Public

Defender Comm’n, 501 F.3d 592, 606 (6th Cir. 2007) (citations omitted).

Plaintiff’s injuries were a result of actions taken by a third party on behalf of

the Defendant Wayne County Election Commission after the entry of the state-

court’s September 16, 2016 in the Bailer Election Matter. (See Delphine Oden’s

Affidavit, Docket No. 1-7). Plaintiff’s injuries are not the result of the judgment

entered in the Bailer Election Matter. Rather, Plaintiff’s injuries are a result of the

independent actions of a third party purportedly taken on behalf of the Defendant

Wayne County Election Commission after the entry of the state-court judgment in

the Bailer Election Matter. (See Delphine Oden’s Affidavit, Docket No. 1-7). As

the Sixth Circuit has recognized, “[The Rooker-Feldman] doctrine does not apply

here, because [Plaintiff’s] alleged injury did not emerge from the state court

judgment… [Sh]e challenges the conduct of individuals who happened to

participate in that decision.” Alexander v Rosen, 804 F.3d 1202, 1206-1207 (6th

Cir. 2015). Thus, the Rooker-Feldman doctrine is not applicable.


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                                   CONCLUSION

      WHEREFORE, for the foregoing reasons, Plaintiff Simpson prays that this

Honorable Court GRANT her Motion for Temporary Restraining Order, or in the

alternative, Motion for Preliminary Injunction.


Dated: November 7, 2016                  Respectfully submitted,

                                         /S/ ANDREW A. PATERSON
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                                         46350 Grand River, Suite C
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                              CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that the foregoing document(s) was

filed and served via the Court's electronic case filing and noticing system (ECF)

this 7th day of November, 2016, which will automatically send notification of such

filing to all attorneys and parties of record registered electronically.

                                         Respectfully submitted,

                                         /s/ ANDREW A. PATERSON
                                         ANDREW A. PATERSON (P18690)
                                         Attorney for Plaintiff Simpson



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